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          IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MARYLAND
                                                   Case No.:       1:21-cv-00532
    BRYCE CARRASCO

                 Plaintiff

                                                   RESPONSE IN OPPOSITION TO MOTION TO
    v.
                                                   EXTEND TIME TO FILE ANSWER

    M&T BANK

                 Defendant



             PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
             MOTION TO EXTEND TIME TO RESPOND TO COMPLAINT

        Plaintiff comes before this honorable court to respond in opposition to Defendant’s
motion to extend the time to respond to the Complaint, and the court should deny the motion to
extend the deadline for M&T to respond to Plaintiff’s Complaint, and thus require the Defendant
to follow the same rules that all parties are expected to follow, and should not allow the
Defendant to establish the dangerous precedent that the standard timeline set forth in the Federal
Rules of Civil Procedure do not apply to them and they should be allowed to redefine the rules to
prejudice the Plaintiff by granting special privileges to a Fortune 500 company without
reasonable excuse for their untimeliness and inability to adhere to the normal rules that apply to
civil actions.
        Plaintiff denies that service of process was deficient as suggested by M&T. In their
motion, M&T disputes that Plaintiff’s service was effective. Plaintiff denies this claim and brings
before the court the following reasons that service was not defective in a material way and
further asserts that this is not good cause for an extension of time as required per the Federal
Rules. To clarify the Affidavit filed with this court proving effective service of process upon the
defendant, the manager working at M&T Bank on March 4, 2021 can be identified, under
knowledge and belief, and the name of the Branch Manager is Ken Stewart. Plaintiff argues that
Ken Steward has implied authority to accept service of process on behalf of the Defendant. Ken
Stewart accepted the Summons on March 4, 2021 and confirmed acceptance verbally.
        Additional reasons for why the court should deny the motion follow.




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 The resident agent listed on the face of the
 complaint is not currently authorized to
 accept service of process on behalf of M&T
 Bank as the license with the department of
 taxation was forfeited on September 11,
 2020. Plaintiff served a manager at an
 established place of business as he believed
 this was the most appropriate method of
 serving the defendant since the license is no
 longer active in the state of Maryland.

 M&T Bank does not have an authorized resident
 agent, and the resident agent which is listed on the
 caption of the Complaint refers to the resident
 agent listed under Defendant’s wholly owned
 subsidiary, Wilmington Trust. Since there is no
 resident agent in the name of the Defendant, M&T
 Bank, it was proper for plaintiff to serve the
 Defendant at an established place of business,
 specifically at One Light Street.




        Further, Plaintiff will be unfairly prejudiced by allowing the Defendant to take two
additional weeks to prepare the Answer and Defendant continues to act unlawfully and report
derogatory information in violation of the Fair Credit Reporting Act. It is essential that the
matters brought before the court be heard expeditiously and thus the extension should not be
granted.
        The Federal Rules of Civil Procedure provide that an extension may be granted for good
cause. M&T fails to meet this requirement. For these reasons, the motion to extend the time to
answer should be DENIED, and the answer should be required by March 25, 2021 as originally
set forth.




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Respectfully submitted this 19th day of March 2021.

Signature:       /s/Bryce Carrasco
Printed Name:    Bryce Carrasco
Date:            3/12/2021

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____________/s/*____________
Bryce Carrasco




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